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 6

 7                         UNITED STATES DISTRICT COURT
 8
                          CENTRAL DISTRICT OF CALIFORNIA

 9
      UNITED AFRICAN-ASIAN                    Case No:
10    ABILITIES CLUB, ON BEHALF
11
      OF ITSELF AND ITS                       COMPLAINT
      MEMBERS; JAMES LEE, An
12    Individual                              DISCRIMINATORY
13                                            PRACTICES
                          Plaintiffs,         [US Fair Housing Act of 1988 [42
14
                                              U.S.C. §§ 3600 et seq, §3604(c),
15          v.                                §3604(f)(1-3), et seq.; CA
                                              Government Code 12925, 12927,
16
      OMNINET KIPLING, LP; AND                12955; CA Civil Code §§ 51, 52,
17    DOES 1 THROUGH 10, Inclusive            54.3
18
                          Defendants.         DEMAND FOR JURY TRIAL
19

20                                      INTRODUCTION
21
     1.    Plaintiffs make the following allegations in this civil rights action:
22                              JURISDICTION AND VENUE
23   2.      The federal jurisdiction of this action is based on the 42 U.S.C. §§ 3601,
24   3604 et. seq. - the U.S. Fair Housing Act Amendments of 1988 (Defendants’
25
     apartment property consist of four (4) or more residential units), and 42 U.S.C. §
26
     12101 et. seq., the federal Americans With Disabilities Act. Venue is proper in this
27
     United States District Court for the Central District of California pursuant to 28
28

                      1
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 1
     U.S.C. § 1391(b), because a substantial part of Plaintiffs’ claims arose within said
 2
     Judicial District.
 3
                              SUPPLEMENTAL JURISDICTION
 4
     3.      This United States District Court for the Central District of California has
 5
     supplemental jurisdiction over the California state claims as alleged in this
 6
     Complaint pursuant to 28 U.S.C. § 1367(a).
 7
                    NAMED DEFENDANTS AND NAMED PLAINTIFFS
 8
     4.     The term Plaintiffs as used herein specifically include the corporate Plaintiff
 9
     entity known as the United African-Asian Abilities Club, On Behalf Of Itself And Its
10
     Members (hereinafter referred to as “Club” or “UAAAC”); and the individual
11
     Plaintiff JAMES LEE (hereinafter referred to as “LEE” or the “named Individual
12
     Plaintiff”. The Plaintiff Club and Plaintiff LEE are sometimes collectively referred
13
     to as the “named Plaintiffs” or “Plaintiffs”.
14
     5.     Plaintiff United African-Asian Abilities Club (UAAAC) is registered and in
15
     good standing as a Nevada corporation. The named individual Plaintiff LEE is a
16
     member of the Plaintiff Club organization.
17
     6.   Plaintiffs are informed, believe, and thereon allege that named Defendant
18
     OMNINET KIPLING, LP and is the operator of the apartment rental business known
19
     as Kipling Apartments located at 4067 W 3rd Street Los Angeles, CA 90020.
20
     Plaintiffs are informed, believe, and thereon allege that Defendant OMNINET
21
     KIPLING, LP, is the owner, operator, and/or lessor of the real property located at
22

23
     4067 W 3rd Street Los Angeles, CA 90020 (hereinafter referred to as the

24
     “Property”).

25
     7.     Defendant OMNINET KIPLING, LP, is, and at all times mentioned herein

26
     were, a business or corporation or franchise, organized and existing and/or doing

27
     business under the laws of the State of California. Defendants Does 1 through 10,

28

                          2
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 1
     were at all times relevant herein subsidiaries, employers, employees, and/or agents of
 2
     the named Defendants.
 3
                                  CONCISE SET OF FACTS
 4
     8.    The named Individual Plaintiff Lee has hip and knee conditions, uses a device
 5
     for mobility, is unable to walk any distance, and also has a vision disability. Plaintiff
 6
     Lee is also a member of the Plaintiff Club. The individual Plaintiff Lee had specific
 7
     dates wherein he intended to go the Defendant’s Property to access Defendants’
 8
     rental services. Plaintiff Lee has actual knowledge of the overt and obvious physical
 9
     and communication barriers at Defendants’ Property. Plaintiff Lee determined that
10
     the open and obvious physical barriers that exist at Defendants’ Property directly
11
     related to his disabilities, and that it would be impossible or extremely difficult for
12
     him to physically access Defendants’ on-site rental services. See ¶¶ 25. Plaintiff
13
     Lee had knowledge of access barriers at the Property and determined that it would be
14
     futile gesture for him to go to the Property on the date that he had intended. The
15
     named Individual Plaintiff Lee was deterred by his actual knowledge of the physical
16
     and communication barriers that exist at Defendants’ Property and also Defendants’
17
     website communication barriers. As used herein, website means any internet website
18

19
     where Defendants control the content. Exhibit B states the websites controlled by

20
     Defendants. Plaintiff Lee also attempted to access Defendants’ rental services on

21
     Defendants websites but experienced great difficulty due to Defendants’ failure to

22
     provide accessible website features.

23
     9. The named Individual Plaintiff Lee attempted to use Defendants’ website to

24
     access Defendants’ online rental services, but had great difficulty due to his

25
     disabilities. The named Individual Plaintiff Lee also could not determine from

26   Defendants’ website content whether Defendants’ rental services at the property or
27   off the property, and common areas at the property were physically accessible to
28

                      3
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 1
     him. The named Individual Plaintiff Lee requested that Plaintiff Club assist him to
 2
     obtain information regarding the physical accessibility of Defendants’ rental services
 3
     at the property and off-site. In response to the named Individual Plaintiff’s request,
 4
     Plaintiff Club sent one of its members to Defendants’ property. The named
 5
     Individual Plaintiff personally reviewed all the information and photographs of
 6
     Defendants’ property. As a result, the named Individual Plaintiff has actual
 7
     knowledge of the overt and obvious physical and communication barriers to
 8
     Defendants rental service at Defendants’ Property. The named Individual Plaintiff
 9
     determined that the open and obvious physical barriers that exist at Defendants’
10
     Property directly related to his disabilities, and that it would be impossible or
11
     extremely difficult for him to physically access Defendants’ on-site rental services.
12
     See ¶¶ 25. The named Individual Plaintiff Lee had actual knowledge and determined
13
     that it would be futile gesture for him to go to the Property on the date that he had
14
     intended. The named Individual Plaintiff was deterred by his actual knowledge of
15
     the physical and communication barriers that exist at Defendants’ Property and
16

17
     website. The named Individual Plaintiff made a written request to Defendants’ for

18
     an accommodation to have equal access to Defendants’ rental services and to

19
     eliminate the communication and physical barriers to Defendants’ rental services,

20
     both online and at the property. At the end of this action, the named Individual

21
     Plaintiff Lee intends to return to Defendants’ website and Defendants’ property to

22
     obtain rental information and verify that the communication and physical barriers to

23
     Defendants’ rental services are removed.

24
     10.   The named Plaintiff Club is an organization that advocates on the behalf of its

25
     members with disabilities when their civil rights and liberties have been violated.

26
     Plaintiff Club and Plaintiff Lee investigated Defendants’ websites and apartment

27
     Property in January, 2023, and in February, 2023. The named Plaintiffs investigated

28

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 1
     Defendants apartment property and Defendants websites. Plaintiff Club member
 2
     Sharon Riguer investigated the Property on the Internet websites. Additional
 3
     Plaintiff Club members investigated Defendants websites and found that they did not
 4
     provide equal access. The results of the research from Club Member Sharon Riguer
 5
     are contained in the Exhibit B to this Complaint. Club members ascertained that
 6
     Defendants’ rental services at Defendants Property were not physically accessible to
 7
     Plaintiff Lee by a Club member with a disability who went to Defendants’ apartment
 8
     Property, and said Club member attempted to access Defendants’ on-site rental
 9
     services.
10
     11.   Plaintiff Club diverted its time and resources from its normal purposes
11
     because of Defendants’ service, policy, program and physical barriers to Defendants
12
     rental services at Defendants’ websites and Property. Club personnel conducted
13
     detailed Internet searches to determine if Defendants provide large print, deaf
14
     interpreter, therapy animal, the required reasonable accommodation policy, and
15
     required reasonable modification policy.    Further, the Club retained contractors to
16
     investigate said policies, to survey the property, to photograph the property, to
17
     investigate when the Property was constructed, to investigate the Property ownership
18
     and to have an access report prepared. Plaintiff Club also diverted staff to
19
     investigate Defendants' Internet presence to determine compliance with the FHA and
20
     ADA. Plaintiff Club also investigated Defendants' written rental materials such as
21
     brochures, rental applications and leases. Moreover, Plaintiff Club made an oral
22

23
     investigation to ascertain Defendants' companion animal, deaf interpreter and

24
     reasonable accommodation and reasonable modification policies. Plaintiff Club also

25
     caused a physical access consultant to be retained to survey Defendants' facility.

26
     Plaintiff Club’s findings regarding Defendants’ rental services and facilities were

27
     incorporated into an Access Report. The Access Report also details the known overt

28

                      5
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 1
     and obvious physical access violations at the Property, but it is not intended as an
 2
     exhaustive list of existing violations. Due to these necessary activities to investigate,
 3
     Plaintiff Club’s time and resources were diverted from its normal activity. Plaintiff
 4
     Club suffered injury and also suffered monetary damages due to the diversion of the
 5
     Club’s resources from its normal purposes.
 6
     12.   Plaintiffs allege that Defendants control, operate, and maintain website at
 7
     https://www.kiplingapartments.com/ where Defendants offer its rental services.
 8
     Additionally, Defendants provide rental services located at the Property.
 9
     13.   Plaintiffs allege that Defendants’ websites have a close nexus to Defendants’
10
     physical site rental services because the websites refer to Defendants’ rental services
11
     that are offered at Defendants’ property as well as elsewhere off the site. Therefore,
12
     Plaintiffs allege that the websites are also places of public accommodation.
13
     Defendants control the websites to the extent that Defendants can change the website
14
     content to make modifications to comply with the FHA and ADA. Therefore,
15
     Plaintiffs allege that Defendants can modify the content of Defendants’ websites to
16
     improve access for Plaintiffs and people with disabilities.
17
     14.   In this case, the named Plaintiffs allege that the Defendants failed to provide a
18
     TTY number or the text messaging system for Plaintiffs and other people that are
19
     deaf or people with speech conditions. Plaintiff Club members have a speech
20
     disability. Moreover, Plaintiff Club alleges that the Defendants did not modify their
21
     websites to eliminate non-readable text to allow the blind and people with low vision
22

23
     to use the screen reader software to access the information on the website, yet they

24
     also failed to use large print on their websites. See Exhibit B to this Complaint.

25
     Plaintiffs assert that most popular screen reader programs are called Jobs Access

26
     With Speech or “JAWS” and Apple’s VoiceOver Software. Defendants actions

27
     discriminate against Plaintiff Club, specifically Club members who have low vision

28

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 1
     disabilities. Each of the Club members above cannot use the websites controlled by
 2
     the Defendants. Modifications to Defendants’ websites will not fundamentally alter
 3
     the rental services provided and will also not cause an undue burden to Defendants,
 4
     because the cost is less than One Thousand Dollars ($1,000).
 5
     15.   On January 31, 2023, and on a second subsequent date, Plaintiff Club
 6
     attempted to make a request to the Defendants for reasonable accommodation at the
 7
     property. On February 17, 2023, the named individual Plaintiff LEE and Plaintiff
 8
     Club emailed to the Defendants a written request for a reasonable accommodation.
 9
     In February, 2023, Plaintiff LEE and Plaintiff Club, mailed a written request for a
10
     reasonable accommodation. Defendants failed to respond to both Plaintiffs requests
11
     for reasonable accommodation as of the date of the filing of this Civil Complaint.
12
     16.   Plaintiffs are not able to access Defendants rental services due to existing
13
     overt and obvious communication and physical barriers to access Defendants’ rental
14
     services both at its online website and at the property. Due to the overt and obvious
15
     physical barriers as alleged herein below, which are required to be removed,
16

17
     Plaintiffs requested that Defendants accommodate them to provide access to

18
     Defendants’ rental services.
     17.   The named Plaintiffs allege that an accommodation is also obvious when a
19
     whole group of the protected persons requires it. For example, when the public
20
     without disabilities are required to get up to a second level, the public would be very
21
     disturbed if they were required to request steps to go up to second level. When the
22

23
     accommodation is specific to a particular person with a disability, then that person

24
     may be required to make a request, because the accommodation is not obvious.

25
     18.   Plaintiffs allege that they are not required to make a request for reasonable

26
     accommodation and for auxiliary aids when the barriers to communication are overt

27
     and obvious. However, in the present case, Plaintiffs did make such requests for

28

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 1
     accommodation to eliminate overt and obvious barriers to its rental services
 2
     communications. Plaintiffs allege that providing effective contact information for
 3
     Defendants’ rental services on the internet is an obvious accommodation. The
 4
     general public does not need to request a contact number from the Defendant
 5
     apartment owner or operator when they desire to rent a place. Defendants provide the
 6
     contact number on their website. Therefore, Plaintiffs allege that Defendants are
 7
     required to provide the obvious accommodation of effective communication for
 8
     people that are deaf or with speech impediment on their website without a request.
 9
     Defendants must make their rental services accessible without the need for a prior
10
     request. Furthermore, Defendants have a duty to remove architectural barriers and
11
     communication barriers to their rental services without request.
12
     19. Plaintiffs allege that there is disparate treatment on the internet related to the
13
     amenities being offered to people without disabilities and people with disabilities.
14
     All the below facts and the facts stated elsewhere herein have a disparate impact on
15
     the disability community. The named Plaintiffs experienced and have knowledge of
16
     the below facts that the Plaintiffs ascertained from Defendants’ websites. Defendant
17
     operates an apartment property. The property is located at 4067-4077 W 3rd St, Los
18
     Angeles, CA 90020. The property was built in 1928 and has 6 stories with 136 units.
19
     The rent is approximately: $1,270 - $1,520. The internet provides a wealth of
20
     information regarding the property. The internet advertises that the property has
21
     amenities that include: Unique Features: Air Conditioner*, Cable/DSL Ready,
22

23
     Ceiling Fan, Courtesy Patrol, Efficient Appliances, Exposed Brick Wall In Unit,

24
     Package Room, Generous Closet Space, Historic 1920s Building, Kitchenette*,

25
     Laundry Facility Onsite, Package Room, New Hardwood Floors, Recycling, Spanish

26
     Speaking Staff, Upgraded Interiors with New Cabinetry, Views of Hollywood or

27
     Mountains*, Walking Distance to Grocery and Dining, Window Coverings; Property

28

                      8
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 1
     Services: Package Service, Laundry Facilities, Controlled Access, Maintenance on
 2
     site, Property Manager on Site, Concierge, 24 Hour Availability, On-Site Retail,
 3
     Recycling, Renters Insurance Program, Online Services, Car Charging Station,
 4
     Public Transportation; Shared Community: Elevator, Business Center, Clubhouse,
 5
     Vintage Building; Fitness & Recreation: Fitness Center; Outdoor Features: Gated,
 6
     Courtyard; Apartment Features: High Speed Internet Access, Wi-Fi, Air
 7
     Conditioning, Ceiling Fans, Smoke Free, Cable Ready, Security System,
 8
     Tub/Shower, Intercom, Sprinkler System, Refrigerator, Hardwood Floors, Crown
 9
     Molding, Walk-In Closets, Window Coverings; Pet Policies: Dogs Allowed: Pet
10
     Limit 2, Weight limit 35 lb., Monthly pet rent $35; Cats Allowed: Pet Limit 2,
11
     Monthly pet rent $25; Parking: Other Unassigned Parking; Application Fee $35;
12
     Utilities Included: Gas, Electricity; Lease Options: 6, 7, 8, 9, 10, 11, 12. The
13
     property advertises on kiplingapartments.com, rentcafe.com, westsiderentals.com,
14
     apartmentfinder.com, zumper.com, apartmenthomeliving.com, apartmentguide.com,
15
     yelp.com. It is very important to know that on kiplingapartments.com, rentcafe.com,
16
     westsiderentals.com, apartmentfinder.com, zumper.com, apartmenthomeliving.com,
17
     apartmentguide.com there is the equal housing opportunity logo. The plaintiff
18
     alleges that there is disparate treatment on the internet related to the amenities being
19
     offered to people without disabilities and people with disabilities. For example, the
20
     tow signage was not installed. The accessible parking space had an access aisle,
21
     which was not van accessible. The aisle did not have the “no parking” included in
22

23
     the access aisle. The office had a high threshold. There was no International Symbol

24
     of Accessibility signage. The Internet does not state the accessible amenities at all.

25
     Also, the statement the “equal housing opportunity statement” is misleading. In fact,

26
     the property is not completely accessible. All the above facts and the facts stated

27
     herein have a disparate impact on the disability community.

28

                      9
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  1
      20.   On Defendants’ websites, they allow the public without deafness and without
  2
      speech impairments to participate by providing them with a telephone number to
  3
      call. However, Plaintiff Club members that are deaf and or with speech impairments
  4
      are denied equal access to participate because the Defendants do not have any
  5
      effective communication.
  6
      21.   Defendants provide websites for people without disabilities to benefit from the
  7
      rental services without going to the apartments to learn about the properties.
  8
      However, for people with disabilities that require the access to the facility, the
  9
      Defendants do not provide any information on the websites regarding if the rental
 10
      services located both on or off the property are accessible. Moreover, the Defendants
 11
      provide the telephone number for the public to call to inquire about the rental
 12
      services without providing any effective alternative communications for Plaintiffs
 13
      and other people that are deaf or have speech impairments.
 14
      22.   For people without disabilities, the Defendants provide all of the information
 15
      on their websites. For Plaintiffs with disabilities, Defendants require them to travel to
 16

 17
      the Property to determine if it is accessible, then require them to request the effective

 18
      communication, and then thereafter to request a reasonable accommodation to the

 19
      overt and obvious communication barrier. Therefore, Defendants require Plaintiffs

 20
      and other people with disabilities to suffer a separate benefit.

 21
      23.   Additionally, the named Plaintiffs are alleging photograph discrimination

 22
      related to the physical access of each of the apartments within Exhibit B to this

 23
      complaint. The purpose of Defendants’ internet photographs is to entice perspective

 24
      renters to apply online or to contact the Defendants to rent a place. Defendants’
 25   internet photographs only entice people without mobility disabilities. Defendants’
 26   internet photographs exclude any photographs of any accessible features that would
 27   aid the Plaintiffs. For example, there is no photograph of accessible parking. There
 28

                       10
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  1
      are no photographs of the accessible route to the rental services both on or off the
  2
      property. There are photographs of the accessible route to the rental services. There
  3
      are no photographs related to the access to get into and use the rental services. There
  4
      are no photographs related to the accessible route of the common area. There are no
  5
      photographs of the accessible units. In fact, all the photographs lead a person with a
  6
      mobility disability to believe that the apartments are not accessible, or that they must
  7
      have someone go to the properties to make sure it is accessible. However, people
  8
      without disabilities are not required to go to the Property to see if it is accessible.
  9
      24.   Defendants websites and Defendants’ rental services are not integrated for
 10
      people with disabilities as required. Plaintiffs are required to request an
 11
      accommodation. People without disabilities can access the websites and the rental
 12
      services without any problem, but Plaintiffs and other people with disabilities are
 13
      required to request for separate rental services. People with mobility conditions are
 14
      not integrated when using the websites because they must go to the apartments to
 15
      determine if they are accessible, but people without disabilities need only access
 16

 17
      Defendants’ websites to determine they can use them. People that are blind and with

 18
      low vision disabilities must request help to read the website information because the

 19
      printed information is too small, but people without disabilities can access the

 20
      websites without asking for help. Plaintiffs and other people with deafness or people

 21
      with speech condition must ask for help calling the number on the websites, because

 22
      Defendants fail to provide a TTY number to contact, or Defendants fail to provide a

 23
      texting system. Defendants discriminated against the Plaintiffs.

 24
      25.   Plaintiff Club member went to Defendant’s apartment facilities at the Property

 25
      in January, 2023, and on a second subsequent date, to access the rental services. The

 26
      Named Individual Plaintiff has actual knowledge of Defendants’ overt and obvious

 27
      physical barriers, that relate to this Plaintiff’s disabilities, to Defendants’ Property

 28

                       11
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  1
      on-site rental services that this Named Individual Plaintiff intended to visit in
  2
      January, 2023, and on a second subsequent date, but this Plaintiff was deterred from
  3
      accessing Defendant’s rental services located on the Property. Defendants provide
  4
      rental information, rental applications, and other rental services on-site at the
  5
      Property. Defendants’ agents confirmed to the Plaintiffs that rental information,
  6
      rental applications, and other rental services were available on-site at the Property.
  7
      Defendants’ rental services at the Property are not accessible. Defendants’ path of
  8
      travel from the sidewalk to the rental services is not accessible since it has step
  9
      changes in level along the path. There is a step change in level that must be
 10
      traversed to access the main entrance to the complex. The main entrance door
 11
      leading into the complex fails to have the required smooth and uninterrupted surface
 12
      at the bottom of the door. The main entrance door leading into the complex is not
 13
      accessible due to a significant step change in level at the main entrance door
 14
      threshold that is not beveled or ramped. Defendant’s callbox is located too high to
 15
      be accessible. There are numerous step changes in level that must be traversed
 16
      within the complex to access the common areas. Defendants do not provide the
 17
      required directional signage as to the designated path of travel from the sidewalk to
 18
      Defendant’s rental services. Defendant’s rental services entrance is not accessible
 19
      due to a significant step change in level at the rental services door threshold that is
 20
      not beveled or ramped. The Named Individual Plaintiff has mobility disabilities and
 21
      these step changes in level and the other stated issues cause the path of travel and the
 22
      rental services entry to be not accessible. Defendants failed to provide any
 23
      directional signage indicating an alternate accessible path of travel to the rental
 24
      services. Defendants failed to provide the required fully compliant van accessible
 25
      disabled parking for the rental services. Defendants failed to provide a
 26
      dimensionally compliant van accessible disabled parking space and disabled parking
 27
      access aisle, the required disabled parking signage, including tow away signage, fine
 28

                       12
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  1
      signage, ground markings, and failed to locate said parking on a level surface and
  2
      nearest the rental services. Defendants also failed to provide compliant tow away
  3
      signage. The Named Individual Plaintiff requires the use of a compliant van
  4
      accessible disabled parking space to safely exit and re-enter the vehicle.
  5
      Defendants’ failure to provide the required compliant disabled parking, disabled
  6
      parking access aisle, disabled parking disability signage, access aisle, and disability
  7
      ground markings, such that the Named Individual Plaintiff is not able to safely park
  8
      at Defendants’ establishment since the individual Plaintiff may be precluded from
  9
      exiting or re-entering the vehicle if the disabled parking and disabled parking
 10
      signage is not present and others park improperly. Additionally, Defendants failed to
 11
      provide the required accessible path of travel from the parking area to the rental
 12
      services since the existing path of travel has step changes in level. Additionally,
 13
      Defendants overt and obvious communication barriers were also present at the rental
 14
      services in January, 2023, and on a second subsequent date. Defendants failed to
 15
      provide any method of text communication with their rental services and failed to
 16
      publish any information as to how to initiate text communication contact. The
 17
      Named Individual Plaintiff had actual knowledge of these barriers at Defendants’
 18
      Property that Plaintiff intended to visit, and the Named Individual Plaintiff was
 19
      deterred from accessing Defendants’ rental services at the Property again in
 20
      February, 2023. See Property photos in Exhibit B and Exhibit C.
 21
      26.   Plaintiff Club and the named Individual Plaintiff desire to make sure that
 22
      Defendants’ rental services at Defendants’ property and Defendants’ websites are
 23
      fully accessible to Plaintiff Club’s members, the named Individual Plaintiff, and
 24
      other people with disabilities. Plaintiff Club, its Club members, and the named
 25
      Individual Plaintiff all have actual knowledge of Defendants’ discriminatory
 26
      conditions, and they are currently deterred from attempting further access until the
 27
      barriers are removed. Plaintiff Club and the named Individual Plaintiff intend to
 28

                       13
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  1
      return to Defendants’ Property and Defendants websites at the end of this action to
  2
      obtain rental services, and to verify that the communication and architectural barriers
  3
      are removed. The named Plaintiffs’ intent to return is genuine. In this case, Plaintiff
  4
      Club has numerous members residing near Defendants Property. Plaintiff Club’s
  5
      members have actual knowledge of the discriminatory conditions as alleged herein
  6
      when the Plaintiff Club investigated the Property and the rental services and
  7
      determined that the Club members would not be able to use the rental services due to
  8
      the discriminatory conditions. Therefore, Plaintiff Club members were and are
  9
      deterred from visiting the properties. Plaintiff Members were not required to
 10
      actually visit the properties. See Civil Rights Education & Enforcement Center v.
 11
      Hospitality Properties Trust, 867 F.3d 1093 (9th Cir. 2017). However, a member of
 12
      Plaintiff Cub did visit and attempt to access Defendants’ rental services at
 13
      Defendants’ property. Plaintiff Club and the individual Plaintiff have specific plans
 14
      to visit at the conclusion of this case to obtain rental information and to verify the
 15
      Defendants ceased its discriminatory conduct by removing communication and
 16

 17
      physical barriers to access to the rental services.

 18

 19
       DISCRIMINATORY PRACTICES IN HOUSING ACCOMMODATIONS –

 20
      FAIR HOUSING ACT CLAIMS
      27.   FHA Standing:
 21
            Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
 22
      complaint, Defendants discriminated against Plaintiffs in violation of FHA sections §
 23
      3604(f)(1- 3) and 42 § 3604(c), as further detailed below. As a result, the present
 24
      named Plaintiffs suffered injury as a result of Defendants discriminatory actions, and
 25
      named Plaintiffs now pray for damages, injunctive relief, declaratory relief, and
 26
      other relief as hereinafter stated. The Federal Fair Housing Act applies to
 27

 28

                       14
                                                                                  COMPLAINT
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  1
      Defendants’ apartment complex since it has more than 4 residential units. FHA
  2
      standing is substantially broader than standing under the ADA due to the critically
  3
      important need of adequate availability of housing for the disabled. A potential
  4
      plaintiff is not even required to have an interest in renting a particular property or
  5
      dwelling to have standing. Smith v. Pacific Properties and Development Corp, 358
  6
      F.3d 1097, 1099 (9th Cir 2004) [Testers have standing to bring Fair Housing Act
  7
      claims, Id 1099, 1104]. Under the Act, any person harmed by discrimination,
  8
      whether or not the target of the discrimination, can sue to recover for his or her own
  9
      injury. See Trafficante v. Metropolitan Life Ins. Co., 409 U.S. 205, 212, 93 S.Ct. 364,
 10
      34 L.Ed.2d 415 (1972). “This is true, for example, even where no housing has
 11
      actually been denied to persons protected under the Act.” San Pedro Hotel v City of
 12
      Los Angeles, 159 F.3d 470, 474-475 (9th Cir 1998). In the present case, the named
 13
      Plaintiffs alleged they suffered the injury of discriminatory conduct by Defendants,
 14
      and that the named Plaintiffs suffered monetary and other damages as a result. The
 15
      named Plaintiffs seek injunctive relief as well as damages, both of which are
 16
      available under 42 USC § 3613(c). Assuming arguendo in the present case, that
 17
      prospective injunctive relief was not available to Plaintiffs due to mootness or
 18
      otherwise, which Plaintiffs dispute; the named Plaintiffs are still permitted to recover
 19
      damages under their federal FHA claims. Harris v Itzakhi, 183 F.3d 1043, 1050 (9th
 20
      Cir 1999) [During the appeal in Harris case, the plaintiff therein moved Three
 21
      Thousand (3000) miles away and her injunctive claims became moot. However,
 22
      Plaintiff’s claim for damages survived and was not affected]. In the present case,
 23
      while Plaintiffs can satisfy the injunctive relief prudential standing requirements, the
 24
      above Ninth Circuit Harris court authority makes it clear that those prudential
 25
      standing requirements for injunctive relief are not applicable to Plaintiffs FHA
 26
      damage claims. Hence, in the present case, Plaintiffs damage claims survive even if
 27
      prospective injunctive relief is not available. The present Plaintiff Club has
 28

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  1
      organization standing separately on its own under the FHA. Additionally, under the
  2
      FHA, Plaintiff Club has associational standing to assert its Club member claims
  3
      since it only seeks injunctive and declaratory relief as to its Club members. Plaintiff
  4
      Club and the named Individual Plaintiff have standing with respect to the following
  5
      FHA claims.
  6

  7
      CLAIM I: Discrimination In Violation of 42 § 3604(f)(1) - Failure To Have A
  8
      Policy For Receiving Prospective Tenant Accommodation Requests, Failure To
  9
      Train Staff, And Failure To Make The Policy Known To The Plaintiffs
 10
      28.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
 11
      complaint, the named Plaintiffs suffered discrimination by Defendants in violation of
 12
      this FHA section. This FHA statute states it is unlawful to discriminate in the sale or
 13
      rental, or to otherwise make unavailable or deny, a dwelling to any buyer or renter
 14
      because of a handicap of (A) that buyer or renter; (B) a person residing in or
 15
      intending to reside in that dwelling after it is so sold, rented, or made available; or…
 16
      §3604(f)(1) [emphasis added]. See Texas Dept. of Housing and Community Affairs
 17
      v Inclusive Communities Project, 135 S.Ct. 2507, 2519 (2015) [FHA statutory
 18
      scheme permits disparate impact claims, and those type of claims do not require
 19
      intent]. due to Defendants’ communication and architectural barriers, Defendants
 20
      discriminated against Plaintiffs by failing to have a policy, practice, or method for
 21
      Plaintiffs to make a reasonable accommodation request for equal access to their
 22
      rental services on their website or at their Property. Defendants have an affirmative
 23
      duty to have a policy, process to receive such accommodation requests and to
 24
      respond to said requests. See Giebeler v. M & B Associates, 343 F.3d 1143 (9th Cir.
 25
      2003). As a result, Defendant caused Plaintiffs to suffer disparate impact
 26
      discrimination.
 27

 28

                        16
                                                                                  COMPLAINT
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  1
      CLAIM II: Failure to Engage in Interactive Process In Violation Of The Fair
  2
      Housing Act And California Fair Employment And Housing Act
  3
      29.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
  4
      complaint, Plaintiffs suffered discrimination by Defendants in violation of FHA
  5
      section § 3604(f)(1) and § 3604(f)(2). Plaintiffs contend that Defendant failed to
  6
      engage in a good-faith interactive process to determine and to implement effective
  7
      reasonable accommodations so that Plaintiffs could gain equal access Defendants’
  8
      rental services, to apply for a lease, or to allow Plaintiffs to access Defendants’ rental
  9
      services both on or off the property and apartments.
 10
      CLAIM III: Discrimination In Violation of 42 § 3604(f)(2)
 11
      30.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
 12
      complaint, the named Plaintiffs suffered discrimination by Defendants in violation of
 13
      this FHA section § 3604(f)(2). This FHA section states “it shall be unlawful to
 14
      discriminate against any person in the terms, conditions, or privileges of sale or
 15
      rental of a dwelling, or in the provision of services or facilities in connection with
 16
      such dwelling”. Plaintiffs more specific factual basis for this claim is set forth
 17
      above at ¶¶23-26 above. As previously stated, the named Individual Plaintiff was a
 18
      prospective renter and Plaintiff Club was also seeking rental housing on behalf of the
 19
      named Individual Plaintiff ¶¶8 – 26 above. In the instant case, Defendant’s rental
 20
      services located on the Property or off-site are “services” in connection with the
 21
      rental of a dwelling and the on-site or off-site rental services provided fall within the
 22
      FHA statute. In the instant case, the named Plaintiffs both assert that Defendant’s
 23
      failure to remove communication and architectural barriers to permit access to
 24
      Defendant’s on-site rental services contained is a separate, independent, actionable
 25
      violation of this FHA section § 3604(f)(2), even without reference to the ADA as a
 26
      predicate. Plaintiffs have alleged that Defendants’ Property has overt and obvious
 27
      physical barriers to access its rental services provided at the property. See ¶¶25 -26.
 28

                       17
                                                                                   COMPLAINT
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  1
      The 9th Circuit Smith court stated that the mere observation of overt architectural
  2
      barriers is actionable. Smith at 1104 [“To read an additional standing requirement
  3
      into the statute beyond mere observation, however, ignores that many overtly
  4
      discriminatory conditions, for example, lack of a ramped entryway, prohibit a
  5
      disabled individual from forming the requisite intent or actual interest in renting or
  6
      buying for the very reason that architectural barriers prevent them from viewing the
  7
      whole property in the first instance” (emphasis in original)]. The Smith court found
  8
      Defendants liable under this FHA subsection even though that case did not involve
  9
      ADA Title III claims. However, Plaintiffs did not just allege that Plaintiff Club
 10
      observed Defendant’s overt architectural barriers, but Plaintiffs alleged that a
 11
      Plaintiff Club member experienced the barriers, that the named Individual Plaintiff
 12
      had actual knowledge of Defendants’ communication and architectural barriers and
 13
      Plaintiff LEE was deterred from obtaining equal access to Defendant’s rental
 14
      services located thereon. Defendants also discriminated against Plaintiffs by failing
 15
      to modify its practices and policies to provide access via other methods of access to
 16
      its rental services located on or off the property site. Defendant’s failure to remove
 17
      the architectural and communication barriers to access its facilities and the rental
 18
      services located thereon, or failure to provide an accommodation to provide methods
 19
      of alternate access to their rental services, constitutes the prohibited discrimination,
 20
      separately and independently. Additionally, Defendant’s conduct is also prohibited
 21
      under ADA Title III and constitutes a second, separate, independent source of
 22
      discrimination against Plaintiffs in violation of FHA § 3604(f)(2). Since Defendants
 23
      discriminatory conduct involves Defendants’ rental facilities and its rental services
 24
      located therein, Plaintiffs assert any discriminatory conduct found in violation of
 25
      ADA Title III also constitutes prohibited “discrimination” under FHA § 3604(f)(2).
 26
      CLAIM IV: Discrimination In Violation of 42 § 3604(f)(3)(A and B only)
 27
      31.   Plaintiffs do not make any claim against Defendants for a failure to “design
 28

                       18
                                                                                   COMPLAINT
                                                                                      CASE #
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  1
      and construct” pursuant to § 3604(f)(3)(C). Based on the facts plead at ¶¶ 8 - 26
  2
      above and elsewhere herein this complaint, Plaintiffs suffered discrimination by
  3
      Defendants in violation of FHA sections § 3604(f)(3)(A, B) only. The FHA requires
  4
      that “….[f]or the purposes of this subsection, discrimination includes-- (B) a refusal
  5
      to make reasonable accommodations in rules, policies, practices, or services, when
  6
      such accommodations may be necessary to afford such person equal opportunity to
  7
      use and enjoy a dwelling...” 42 § 3604(f)(3)(B). See also Giebeler v. M & B
  8
      Associates, 343 F.3d 1143 (9th Cir 2003). Defendants improperly refused Plaintiffs’
  9
      repeated written and other requests for an accommodation to have equal access to its
 10
      rental services.
 11
      CLAIM V: Discrimination In Violation of 42 § 3604(c) As To NSA
 12
      32.   Based on information, belief, and the facts plead at ¶¶ 8 – 26 above and
 13
      elsewhere herein, Plaintiffs herein alleges that Defendants caused Plaintiffs to suffer
 14
      the injury of discrimination since Defendants violated 42 U.S.C. §§ 3604 (c) with
 15
      respect to its notices, statements, and advertisements (“NSA”). Plaintiffs allege that
 16
      Defendants discriminated against them when Defendants made, printed, or
 17
      published, or caused to be made printed, or published notices, statements, or
 18

 19
      advertisements (“NSA”) that suggest to an ordinary reader a preference to attract

 20
      tenants without disabilities. Defendants' Internet advertising regarding its rental

 21
      services has an unlawful disparate impact on Plaintiffs.

 22
      SECOND CAUSE OF ACTION : Violation of California Fair Housing Act
 23
      33.     Failure to Provide Obvious Reasonable Accommodation and Modification:
 24

 25
      Based on information, belief and the facts stated above at ¶¶ 8 – 26 above and

 26
      elsewhere in this complaint, Plaintiffs allege that Defendants refused to make

 27
      reasonable accommodations in rules, policies, practices, or services in violation of

 28

                         19
                                                                                 COMPLAINT
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  1
      CA Government Code sections 12927 and 12955.2, when these accommodations
  2
      may be necessary to afford a disabled person equal opportunity to use and enjoy
  3
      Defendants’ rental services. As stated in detail above, Defendants refused to make
  4
      reasonable accommodations with the instant Plaintiffs and discriminated against each
  5
      of them on the basis of disability.
  6

  7
      THIRD CAUSE OF ACTION AGAINST ALL DEFENDANTS- Claims Under
  8
      The Americans With Disabilities Act Of 1990
  9
      34.   ADA Standing:
 10
            ADA Title III does cover public and common use areas at housing
 11
      developments when these public areas are, by their nature, open to the general
 12
      public. An office providing rental services is open to the general public. (See U.S.
 13
      Department of Justice - ADA Title III Technical Assistance Section III-1.2000,
 14
      Illustration 3, office on or off the site covered). The parking and paths of travel to
 15
      the office on or off the site are also covered. See Section III–1.2000, ADA Title III
 16
      Technical Assistance Manual, http://www.ada.gov/taman3.html (“ILLUSTRATION
 17
      3: A private residential apartment complex contains a office on or off the site. The
 18
      office on or off the site is a place of public accommodation”). See Kalani v Castle
 19
      Village, LLC, 14 F.Supp.3d 1359, 1371 (E.D.Cal, 2014)[ citing Johnson v. Laura
 20
      Dawn Apartments, LLC, 2012 WL 33040 at *1 n. 1 (E.D.Cal.2012) (Hollows, M.J.)
 21
      (“[t]he leasing office of an apartment is a place of public accommodation.] . In the
 22
      present case, the named Plaintiffs have also sufficiently alleged that Defendants
 23
      provide rental services at the property. Following prior sister Circuit Courts of
 24
      Appeals decisions, our Ninth Circuit Court very recently held that an ADA Plaintiff
 25
      can be only a “tester” and have standing. See Civil Rights Education & Enforcement
 26
      Center v. Hospitality Properties Trust, 867 F.3d 1093 (9th Cir. 2017) [the Ninth
 27
      Circuit CREEC court held (1) ADA “tester” standing is valid and a Plaintiff’s
 28

                       20
                                                                                  COMPLAINT
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  1
      motivation for visit is “irrelevant”, and (2) an ADA “deterrent effect doctrine” claim
  2
      does not require a Plaintiff to have a personal encounter with the barrier to equal
  3
      access, only to have knowledge of the barrier] citing Havens Realty Corp. v.
  4
      Coleman, 455 U.S. 363, 372–74, 102 S.Ct. 1114 (1982); Smith v. Pacific Properties
  5
      and Development Corp, 358 F.3d 1097, 1102-1104 (9th Cir 2004); Chapman v. Pier
  6
      1 Imports (U.S.) Inc., 631 F.3d 939 (9th Cir 2011, en banc); Houston v. Marod
  7
      Supermarkets, Inc., 733 F.3d 1323, 1335–37 (11th Cir. 2013); Colo. Cross Disability
  8
      Coal. v. Abercrombie & Fitch Co., 765 F.3d 1205, 1210–11 (10th Cir. 2014). In the
  9
      present case, the named Plaintiffs each have ADA standing. Plaintiffs have alleged
 10
      that Defendants discriminated against Plaintiffs in violation of ADA Title III statutes
 11
      and regulations as detailed further in the ADA claims stated below. As a result, the
 12
      named Plaintiffs have each suffered injury and each seek only injunctive and
 13
      declaratory relief pursuant to their ADA Claims.
 14
      CLAIM I: Auxiliary Aids – Failure To Effectively Communicate
 15
      35.   42 United States Code 12182(b)(2)(iii) states, "a failure to take such steps as
 16
      may be necessary to ensure that no individual with a disability is excluded, denied
 17
      services, segregated or otherwise treated differently than other individuals because of
 18
      the absence of auxiliary aids and services, unless the entity can demonstrate that
 19
      taking such steps would fundamentally alter the nature of the good, service, facility,
 20
      privilege, advantage, or accommodation being offered or would result in an undue
 21
      burden;..." Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this
 22
      complaint, Plaintiffs are informed, believe, and thereon allege that Defendants
 23

 24
      violated said provision. Plaintiffs set forth the factual basis for this claim most

 25
      specifically at ¶¶ 13 -14, 16-24 above. The ADA “applies to the services of a place

 26
      of public accommodation, not services in a place of public accommodation. To limit

 27
      the ADA to discrimination in the provision of services occurring on the premises of a

 28

                       21
                                                                                   COMPLAINT
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  1
      public accommodation would contradict the plain language of the statute.” Nat’l
  2
      Fed’n of the Blind v. Target Corp., 452 F. Supp. 2d 946, 953 (N.D. Cal. 2006)
  3
      (emphasis added) (citing Weyer v. Twentieth Century Fox Film Corp., 198 F.3d
  4
      1104, 1115 (9th Cir. 2000) [holding that “whatever goods or services the place
  5
      provides, it cannot discriminate on the basis of disability in providing enjoyment of
  6
      those goods and services”]). An ADA plaintiff may challenge a business’ online
  7
      offerings as well. So long as there is a “nexus”—that is, “some connection between
  8
      the good or service complained of and an actual physical place”—a plaintiff may
  9
      challenge the digital offerings of an otherwise physical business. See Gorecki v.
 10

 11
      Hobby Lobby Stores, Inc, 2017 WL 2957736, at *4 (C.D. Cal. June 15, 2017) [Case:

 12
      CV 17–1131–JFW (SKx)]. The ADA requires the Defendants to provide effective

 13
      communication to the instant Plaintiffs and to people with disabilities. In the

 14
      present case, Plaintiffs experienced and have knowledge that Defendants failed to

 15   have a required procedure to provide effective communication. Plaintiffs allege that
 16   Defendants failed to train their staff on the way to use the auxiliary aids. Defendants
 17   did not provide any auxiliary aid and the Defendants did not provide any reasonable
 18   accommodation to the overt and obvious communication barriers, and failed to
 19   respond to Plaintiffs’ requests for accommodation. Plaintiffs are not demanding that
 20   Defendants provide a specific reasonable accommodation or a specific auxiliary aid.
 21   ADA law allows the Defendants to decide what auxiliary aid and reasonable
 22   accommodation will be provided. In this case, however, Defendants failed to
 23   provide any reasonable accommodation for the overt and obvious communication
 24   barriers to equal access to their rental services, failed to provide any auxiliary aid,
 25   and failed to provide any effective communication. Plaintiffs allege that Defendants’
 26   websites provide a contact number for the general public, but Defendants failed to
 27   provide Plaintiffs with the required effective communication using texting or other
 28

                       22
                                                                                   COMPLAINT
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  1
      alternate means of communication for Plaintiffs and other people with a deaf
  2
      condition or a speech condition. Defendants’ conduct discriminates against Plaintiff
  3
      Club’s members that have hearing disabilities and Club’s members with speech
  4
      disabilities. Defendants are required to provide, on Defendants’ websites, to provide
  5
      a method to effectively communicate with Plaintiff Club members that have hearing
  6
      and speech disabilities, and other people that are deaf or have speech impairments.
  7
      CLAIM II: Denial of Participation
  8
      36.   42 United States Code 12182(b)(1)(A)(i) states, "It shall be discriminatory to
  9
      subject an individual or class of individuals on the basis of a disability or disabilities
 10

 11
      of such individual or class, directly, or through contractual, licensing, or other

 12
      arrangements, to a denial of the opportunity of the individual or class to participate in

 13
      or benefit from the goods, services, facilities, privileges, advantages, or

 14
      accommodations of an entity." Based on the facts plead at ¶¶ 8 - 26 above and

 15   elsewhere in this complaint, Plaintiffs are informed, believe, and thereon allege that
 16   Defendants violated said provision. Plaintiffs set forth the factual basis for this claim
 17   most specifically at ¶¶ 20-24 above. Defendants discriminated against Plaintiffs in
 18   violation of 42 United States Code 12182(b)(1)(A)(i) and 42 U.S.C. § 12188.
 19   CLAIM III: Participation in Unequal Benefit
 20   37.   Defendants provide unequal benefit for people with disabilities in violation of
 21   42 United States Code 12182(b)(1)(A)(ii) and 42 U.S.C. § 12188. Based on the facts
 22   plead at ¶¶ 8 - 26 above and elsewhere in this complaint, Plaintiffs are informed,
 23   believe, and thereon allege that Defendants discriminated against Plaintiffs in
 24   violation of said provision. Plaintiffs set forth the factual basis for this claim most
 25   specifically at ¶¶ 20-24 above.
 26   CLAIM IV: Separate Benefit
 27   38.   Defendants’ photographs discriminate against Plaintiffs in violation of 42
 28

                       23
                                                                                    COMPLAINT
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  1
      United States Code 12182(b)(2)(A)(iii) and 42 U.S.C. § 12188. Based on the facts
  2
      plead at ¶¶ 8 - 26 above and elsewhere in this complaint, Plaintiffs are informed,
  3
      believe, and thereon allege that Defendants discriminated against Plaintiffs in
  4
      violation of said provision. Plaintiffs set forth the factual basis for this claim most
  5
      specifically at ¶¶ 20-24 above.
  6
      CLAIM V: Integrated Settings
  7
      39.   Defendants’ rental services are not integrated for Plaintiffs and people with
  8
      disabilities in violation of 42 United States Code 12182(b)(1)(B) and 42 U.S.C. §
  9
      12188. Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
 10

 11
      Plaintiffs are informed, believe, and thereon allege that Defendants discriminated

 12
      against Plaintiffs in violation of said provision. Plaintiffs set forth the factual basis

 13
      for this claim most specifically at ¶¶ 20-24 above.

 14
      CLAIM VI: Failure To Modify Practices, Policies And Procedures

 15
      40.   Defendants failed and refused to provide a reasonable alternative by

 16
      modifying its practices, policies, and procedures in that they failed to have a scheme,

 17
      plan, or design to accommodate Plaintiff Club, its Club members, the individual

 18
      named Plaintiff, and/or others similarly situated in utilizing Defendants' rental

 19
      services, at its websites and at the Property, in violation of 42 United States Code

 20
      12182(b)(2)(A)(ii) and 42 U.S.C. § 12188. Based on the facts plead at ¶¶ 8 - 26

 21
      above and elsewhere in this complaint, Plaintiffs are informed, believe, and thereon

 22   allege that Defendants discriminated against Plaintiffs in violation of said provision.
 23   Plaintiffs set forth the factual basis for this claim most specifically at ¶¶ 18-26 above.
 24   CLAIM VII: Failure To Remove Architectural And Communication Barriers
 25   41.   Plaintiffs allege that Defendants failed to remove architectural barrier and
 26   communication barriers as required in violation of 42 United States Code
 27   12182(b)(2)(A)(iv) and 42 U.S.C. § 12182. Based on the facts plead at ¶¶ 8 - 26
 28

                       24
                                                                                    COMPLAINT
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  1
      above and elsewhere in this complaint, Plaintiffs are informed, believe, and thereon
  2
      allege that Defendants discriminated against the named Individual Plaintiff in
  3
      violation of said provision. Plaintiffs set forth the factual basis for this claim most
  4
      specifically at ¶¶ 8,9,20-24,25,26 above. The named Individual Plaintiff personally
  5
      reviewed all the information and photographs of Defendants’ property. As a result,
  6
      the named Individual Plaintiff has actual knowledge of the physical and
  7
      communication barriers that exist at Defendants’ Property. The named Individual
  8
      Plaintiff determined that the physical barriers that exist at Defendants’ property,
  9
      directly relate to his disabilities, and make it impossible or extremely difficult for
 10
      him to physically access Defendants’ rental services at the Property. The named
 11
      Individual Plaintiff was deterred by his actual knowledge of the physical and
 12
      communication barriers that exist at Defendants’ Property which include but are not
 13
      limited to the barriers to facilities and services for disabled parking, exterior path of
 14
      travel to the rental services at the property, entrance and interior, since said
 15
      Defendants’ facilities and rental services were not accessible because they failed to
 16
      comply with the Federal ADA Accessibility Guidelines (“ADAAG”) and California's
 17
      Title 24 Building Code Requirements. See ¶¶ 25 for details. The named Individual
 18
      Plaintiff had actual knowledge of these barriers and determined that it would be
 19
      futile gesture for him to go to the Property on the date that he had originally
 20
      intended. The named Individual Plaintiff is currently deterred from returning due to
 21
      his knowledge of the barriers. At the end of this action, the named Individual
 22
      Plaintiff intends to return to Defendants’ property or off the site location to obtain
 23
      rental information and verify that the communication and physical barriers to
 24
      Defendants’ rental services are removed. Defendants failure to remove the barriers
 25
      to equal access constitutes discrimination against the named Individual Plaintiff.
 26
      CLAIM VIII: Failure To Make Alterations Readily Accessible And Usable
 27
      42.   Defendants are required to make alterations to their facilities in such a manner
 28

                       25
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  1
      that, to the maximum extent feasible, the altered portions of the facility are readily
  2
      accessible to and usable by individuals with disabilities, including individuals who
  3
      use devices pursuant to 42 U.S.C. §12183(a)(2). Based on the facts plead at ¶¶ 8 -
  4
      26 above and elsewhere in this complaint, the named Plaintiffs are informed, believe,
  5
      and thereon allege that Defendants violated this provision. Plaintiffs allege that
  6
      Defendants altered their facility in a manner that affects or could affect the usability
  7
      of the facility or a part of the facility after January 26, 1992. In performing the
  8
      alteration, Plaintiffs allege that Defendants failed to make the alteration in such a
  9
      manner that, to the maximum extent feasible, the altered portions of the facility are
 10
      readily accessible to and usable by individuals with disabilities, including individuals
 11
      who use devices, in violation of 42 U.S.C. §12183(a)(2).
 12
      CLAIM IX: Administrative Methods
 13
      43.   Plaintiffs are informed, believe, and thereon allege that Defendants contract
 14

 15
      with website providers without making sure that the websites will be accessible to

 16
      people with disabilities in violation of 42 United States Code 12182(b)(1)(B) and 42

 17
      U.S.C. § 12188. Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this

 18
      complaint, Plaintiffs are informed, believe, and thereon allege that Defendants

 19   discriminated against the named Individual Plaintiff in violation of said provision.
 20   Plaintiffs set forth the factual basis for this claim most specifically at ¶¶18-26 above.
 21   CLAIM X: Screen Out
 22
      44.   Plaintiffs are informed, believe, and thereon allege that Defendants screened

 23   out Plaintiffs and other people with disabilities in violation of 42 United States Code
 24   12182(b)(2)(A)(i) and 42 U.S.C. § 12188. Based on the facts plead at ¶¶ 8 - 26
 25   above and elsewhere in this complaint, Plaintiffs are informed, believe, and thereon
 26   allege that Defendants discriminated against the named Plaintiffs in violation of said
 27   provision. Plaintiffs set forth the factual basis for this claim most specifically at ¶¶ 8
 28

                       26
                                                                                   COMPLAINT
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  1
      - 26 above. Defendants screened out the named Plaintiffs from its rental services and
  2
      processes, because Defendants failed to remove architectural and communication
  3
      barriers to its website and property, failed to provide required effective alternate
  4
      communication methods, and failed to provide required auxiliary aids.
  5

  6
      CLAIM XI: Denial Of Full And Equal Access
  7
      45.   Defendants are required to provide full and equal access to Defendants' rental
  8
      services, goods, facilities, privileges, advantages, or accommodations pursuant to 42
  9
      United States Code 12182(b) and 42 U.S.C. § 12188. Based on the facts plead at ¶¶
 10
      8 - 26 above and elsewhere in this complaint, Plaintiffs are informed, believe, and
 11
      thereon allege that Defendants discriminated against the named Plaintiffs in violation
 12
      of said provision. Plaintiffs set forth the factual basis for this claim most specifically
 13
      at ¶¶ 8 - 26 above.
 14

 15
      CLAIM XII: Failure To Investigate And Maintain Accessible Features
 16

 17
      46.    Defendants made repairs and administrative changes which violated ADA and

 18
      its regulations. See ADA Title III Regulations Sec.36.211 Maintenance of accessible

 19
      features. Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,

 20
      Defendants failed to provide and then maintain any accessible features in its parking,

 21   path of travel, on or off the property site for rental services and website rental
 22   services. Plaintiffs are informed, believe, and thereon allege that Defendants
 23   discriminated against the named Plaintiffs in violation of this provision.
 24
      CLAIM XIII: Association
 25
      47.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
 26
      Plaintiffs are informed, believe, and thereon allege that Defendants discriminated
 27

 28

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  1
      against the named Plaintiffs in violation of 42 U.S.C. § 12182(b)(1)(E)
  2

  3
            DISCRIMINATORY PRACTICES IN PUBLIC ACCOMMODATIONS

  4
             FOURTH CAUSE OF ACTION: ONLY THE INDIVIDUALL NAMED

  5
      PLAINTIFF AGAINST ALL DEFENDANTS - CLAIMS UNDER CALIFORNIA

  6
                                      ACCESSIBILITY LAWS

  7
      CLAIM I: Denial Of Full And Equal Access

  8
      48.    Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint, the

  9
      named Individual Plaintiff was denied full and equal access to Defendants' goods.
 10   services, facilities, privileges, advantages, or accommodations within a public
 11   accommodation owned, leased, and/or operated by Defendants as required by Civil
 12   Code Sections 54, 54.1, and specifically 54.1(d). The factual basis for this claim is at
 13   18-28 above.
 14   CLAIM II: Failure To Modify Practices, Policies And Procedures
 15   49.    Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
 16   the named Individual Plaintiff was denied full and equal access to Defendants' goods.
 17   Defendants failed and refused to provide a reasonable alternative by modifying its
 18   practices, policies, and procedures in that they failed to have a scheme, plan, or
 19   design to assist Plaintiff Members and/or others similarly situated in entering and
 20   utilizing Defendants' services as required by Civil Code § 54.1. The factual basis for
 21   this claim is at 18-28 above.
 22   CLAIM III: Violation Of The Unruh Act
 23   50.    Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
 24   the individual, the named Individual Plaintiff was denied full and equal access to
 25   Defendants' goods. Defendants violated the CA Civil Code § 51 by specifically
 26   failing to comply with Civil Code §51(f). Defendants' facility violated state
 27   disability laws, the ANSI Standards, A117, and California's Title 24 Accessible
 28

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  1
      Building Code by failing to provide equal access to Defendants’ facilities.
  2
      Defendants did and continue to discriminate against Plaintiff Members in violation
  3
      of Civil Code §§ 51(f), and 52. The factual basis for this claim is at 18-28 above.
  4
                 Treble Damages Pursuant To California Accessibility Laws
  5
      51.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
  6
      only the named Individual Plaintiff prays for an award of treble damages against
  7
      Defendants, and each of them, pursuant to California Civil Code sections 52(a) and
  8
      54.3(a). Defendants, each of them respectively, at times prior to and including the
  9
      day the named Individual Plaintiff attempted patronized Defendants’ facilities and
 10
      rental services, and continuing to the present time, knew that persons with physical
 11
      disabilities were denied their rights of equal access. Despite such knowledge,
 12
      Defendants, and each of them, failed and refused to take steps to comply with the
 13
      applicable access statutes; and despite knowledge of the resulting problems and
 14
      denial of civil rights thereby suffered by the named Individual Plaintiff. Defendants,
 15
      and each of them, have failed and refused to take action to grant full and equal access
 16
      to the individual Plaintiff in the respects complained of hereinabove. Defendants,
 17
      and each of them, have carried out a course of conduct of refusing to respond to, or
 18
      correct complaints about, denial of disabled access and have refused to comply with
 19
      their legal obligations to make Defendants’ public accommodation facilities and
 20
      rental services accessible pursuant to the ADAAG and Title 24 of the California
 21
      Code of Regulations (also known as the California Building Code). Such actions
 22
      and continuing course of conduct by Defendants in conscious disregard of the rights
 23
      and/or safety of the named Individual Plaintiff justify an award of treble damages
 24
      pursuant to sections 52(a) and 54.3(a) of the California Civil Code.
 25

 26
                        DEMAND FOR JUDGMENT FOR RELIEF:
 27
      A.    All named Plaintiffs seeks injunctive relief pursuant to 42 U.S.C. 3613(c) and
 28

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                                                                                COMPLAINT
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  1
      42 U.S.C. § 12188(a). Only the named Individual Plaintiff seeks injunctive relief
  2
      pursuant to CA Civil Code §52. Pursuant to 42 U.S.C. 3613(c), all Plaintiffs request
  3
      this court to enjoin Defendants to cease their discriminatory practices in housing
  4
      rental services, rental housing management services, and for Defendants to
  5
      implement written policies and methods to respond to reasonable accommodation
  6
      and reasonable modification requests. Pursuant to 42 U.S.C. § 12188(a), Plaintiffs
  7
      request this Court enjoin Defendants to remove all barriers to equal access to the
  8
      disabled Plaintiffs in, at, or on their facilities, including but not limited to
  9
      architectural and communicative barriers in the provision of Defendants’ rental
 10
      services. Plaintiffs do not seek injunctive relief pursuant to Cal. Civil Code §55 and
 11
      Plaintiffs do not seek attorneys’ fees pursuant to Cal. Civil Code §55. Plaintiffs do
 12
      not seek any relief at all pursuant to Cal. Civil Code §55.
 13
      B.     All named Plaintiffs seek actual damages pursuant to 42 U.S.C. 3613(c).
 14
      However, Plaintiff Club only seeks damages for itself. Plaintiff Club does not seek
 15
      damages on behalf of its members;
 16
      C. Only the named Individual Plaintiff seeks recovery of actual damages pursuant
 17
      to Cal. Civil Code §§ 52 or 54.3;
 18
      D.     Only the named Individual Plaintiff seeks $4,000 in minimum statutory
 19
      damages pursuant to Cal. Civil Code § 52 for each and every offense of Civil Code §
 20
      51, pursuant to Munson v. Del Taco, (June 2009) 46 Cal. 4th 661;
 21
      E.     In the alternative to the damages pursuant to Cal. Civil Code § 52 in Paragraph
 22
      C above, only the named individual Plaintiff seeks $1,000 in minimum statutory
 23
      damages pursuant to Cal. Civil Code § 54.3 for each and every offense of Civil Code
 24
      § 54.1;
 25
      F.     All named Plaintiffs seek attorneys' fees pursuant to 42 U.S.C. 3613(c)(2), 42
 26
      U.S.C. § 12205, and Cal. Civil Code §§ 52, 54.3;
 27
      G.     Only the named individual Plaintiff seeks treble damages pursuant to Cal.
 28

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  1
      Civil Code §§ 52(a) or 54.3(a);
  2
      H.    The named Plaintiffs are seeking perspective injunctive relief to require the
  3
      Defendants to provide obvious reasonable accommodations, to provide the required
  4
      auxiliary aids and to modify Defendants’ procedures, practices, and policies of the
  5
      Defendants in the provision of Defendants’ rental services. Without perspective
  6
      relief the Plaintiffs will suffer future harm.
  7
      I.    All named Plaintiffs seek a Jury Trial and;
  8
      J.    For such other further relief as the court deems proper.
  9

 10   Respectfully submitted:
 11
                                                       LIGHTNING LAW, APC
 12
      Dated: February 23, 2023
 13
                                               By:     /s/David C. Wakefield
 14                                                    DAVID C. WAKEFIELD, ESQ.
 15
                                                       Attorney for Plaintiffs

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